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 8
                             UNITED STATES DISTRICT COURT
 9                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
10
     STATE OF WASHINGTON,                                NO. 19-1502
11
                               Plaintiff,                CERTIFICATE OF SERVICE
12
            v.
13
     DONALD J. TRUMP, in his official
14   capacity as President of the United States of
15   America; UNITED STATES OF
     AMERICA; United States DEPARTMENT
16   OF THE TREASURY; STEVEN T.
     MNUCHIN, in his official capacity as
17   United States Secretary of the Treasury;
     United States DEPARTMENT OF
18   DEFENSE; MARK T. ESPER, in his
19   official capacity as United States Secretary
     of Defense; RYAN D. MCCARTHY, in his
20   official capacity as Acting United States
     Secretary of the Army; RICHARD V.
21   SPENCER, in his official capacity as United
     States Secretary of the Navy; MATTHEW
22   DONOVAN, in his official capacity as
23   Acting United States Secretary of the Air
     Force; United States DEPARTMENT OF
24   THE INTERIOR; DAVID BERNHARDT,
     in his official capacity as United States
25   Secretary of the Interior; United States
     DEPARTMENT OF HOMELAND
26



       CERTIFICATE OF SERVICE                        1             ATTORNEY GENERAL OF WASHINGTON
                                                                        Complex Litigation Division
                                                                         800 5th Avenue, Suite 2000
                                                                          Seattle, WA 98104-3188
                                                                               (206) 474-7744
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 1   SECURITY; KEVIN MCALEENAN, in his
     official capacity as Acting United States
 2
     Secretary of Homeland Security,
 3
                               Defendants.
 4

 5
            I, Morgan Mills, declare under penalty of perjury under the laws of the State of
 6
     Washington and of the United States of America that I am a resident of the State of Washington,
 7

 8   over the age of eighteen years, not a party to the above-entitled action, and am competent to be

 9   a witness herein.

10          On September 19, 2019, I caused copies of the following documents:
11
            1.      Civil Cover Sheet;
12
            2.      Complaint for Declaratory Judgment and Injunctive Relief with Exhibits; and
13
            3.      Summonses
14

15   to be served by Karl Heminger via hand delivery at approximately 3:22pm upon the United

16   States of America at:

17          United States Attorney’s Office
            Western District of Washington
18          700 Stewart Street, Suite 5220
            Seattle, WA 98101-1271
19
            On September 19, 2019, I caused copies of the following documents:
20

21          1.      Civil Cover Sheet;

22          2.      Complaint for Declaratory Judgment and Injunctive Relief with Exhibits; and

23          3.      Summonses
24
     to be served upon Donald J. Trump; the United States of America; the United States Department
25
     of the Treasury; Steven T. Mnunchin, in his official capacity as the Secretary of the U.S.
26



       CERTIFICATE OF SERVICE                          2              ATTORNEY GENERAL OF WASHINGTON
                                                                           Complex Litigation Division
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                                                                             Seattle, WA 98104-3188
                                                                                  (206) 474-7744
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 1   Treasury; the United States Department of Defense; Dr. Mark T. Esper, in his official capacity
 2   as United States Secretary of Defense; Ryan D. McCarthy, in his official capacity as Acting
 3
     United States Secretary of the Army; Richard V. Spencer, in his official capacity as United States
 4
     Secretary of the Navy; Matthew Donovan, in his official capacity as Acting United States
 5
     Secretary of the Army; the United States Department of Homeland Security; and Kevin K.
 6

 7   McAleenan, Acting Secretary of the United States Department of Homeland Security via

 8   certified mail, addressed as follows:
 9          Donald J. Trump
            President of the United States of America
10          c/o the White House
            1600 Pennsylvania Ave. NW
11          Washington, DC 20500
12          Attorney General of the United States
13          U.S. Department of Justice
            950 Pennsylvania Avenue, NW
14          Washington, DC 20530-0001

15          U.S. Department of the Treasury
            1500 Pennsylvania Ave., NW
16          Washington, DC 20220

17          Steven T. Mnunchin
            Secretary of the U.S. Treasury
18          c/o Department of the Treasury
            1500 Pennsylvia Ave. NW
19          Washington, DC 20220

20          U.S. Department of Defense
            1400 Defense Pentagon
21          Washington, DC 20301-1400

22          Dr. Mark T. Esper
            Secretary of Defense
23          c/o U.S. Department of Defense
            1000 Defense Pentagon
24          Washington, DC 20301-1000

25          Ryan D. McCarthy
            Acting Secretary of the U.S. Army
26          c/o U.S. Department of Defense



       CERTIFICATE OF SERVICE                           3               ATTORNEY GENERAL OF WASHINGTON
                                                                             Complex Litigation Division
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 1       101 Army Pentagon
         Washington, DC 20310-0101
 2
         Richard V. Spencer
 3       Secretary of the Navy
         c/o U.S. Department of Defense
 4       1000 Navy Pentagon
         Washington, DC 20350-1000
 5
         Matthew P. Donovan
 6       Acting Secretary of the Air Force
         c/o U.S. Department of Defense
 7       1670 Air Force Pentagon
         Washington, DC 20330-1670
 8
         Kenneth T. Cuccinelli II
 9       Acting Director of U.S. Citizenship and Immigration Services
         c/o U.S. Department of Homeland Security
10       Office of the General Counsel - Chief Legal Counsel USCIS
         245 Murray Lane SW
11       Washington, DC 20528
12       U.S. Department of Homeland Security
         Office of the General Counsel
13       245 Murray Lane SW
         Washington, DC 20528
14
         Kevin K. McAleenan
15       Acting Secretary of Homeland Security
         c/o U.S. Department of Homeland Security
16       Office of the General Counsel
         245 Murray Lane SW
17       Washington, DC 20528
18       DATED this 24th day of September 2019, at Seattle, Washington.
19
                                s/Morgan Mills
20                              MORGAN MILLS
                                Legal Assistant
21

22

23

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25

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     CERTIFICATE OF SERVICE                       4              ATTORNEY GENERAL OF WASHINGTON
                                                                      Complex Litigation Division
                                                                       800 5th Avenue, Suite 2000
                                                                        Seattle, WA 98104-3188
                                                                             (206) 474-7744
